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SO ORDERED.
SIGNED this 19th day of June, 2019

THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.




        ________________________________________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                           EASTERN DISTRICT OF TENNESSEE NORTHEASTERN
                                      DIVISION AT GREENEVILLE

       IN RE:

                LAKEWAY PUBLISHERS, INC.                       Case No. 2:19-bk-51163-MPP
                                                               Chapter 11
                Debtor.

                LAKEWAY PUBLISHERS OF                          Case No. 2:19-bk-51164-MPP
                MISSOURI, INC.                                 Chapter 11

                Debtor.


                                                ORDER

                Upon Motion of Lakeway Publishers, Inc. (hereinafter "Lakeway") and Lakeway

       Publishers of Missouri, Inc. (hereinafter "Lakeway Missouri") on the Debtor's Motion for an
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   Order Authorizing the Debtor to Pay Critical Vendors, Lakeway, Lakeway Missouri, and

   Creditor PAGE Cooperative have reached an agreement with respect to having PAGE

   Cooperative paid as a critical vendor. The Parties agree to the following terms:

          1.        PAGE Cooperative is Lakeway and Lakeway Missouri's primary supplier of

   newsprint and other supplies. Failure to obtain supplies from PAGE Cooperative would place

   Lakeway and Lakeway Missouri's business of publishing magazines and newspapers in

   jeopardy.

          2.      PAGE Cooperative agrees to supply paper and other supplies to Lakeway and

   Lakeway Missouri post-bankruptcy petition on net 15 day payment terms, with the 15 days

   commencing on the date of the invoice. Payments of post-petition debts shall be made via check

   through Fed Ex Overnight shipments until Lakeway and Lakeway Missouri are able to add

   Automatic Clearing House (ACH) payments to their Debtor in Possession (DIP) accounts. Once

   ACH is added to Lakeway's respective DIP account, payments will be made to PAGE

   Cooperative via that method.

          3.      Lakeway agrees to pay PAGE Cooperative $10,000.00 per month which is to be

   applied to the pre-petition debt. Payments shall be due on the 21st of each month. The parties

   agree to revisit this amount once Lakeway's cash flow has stabilized.

          4.      PAGE Cooperative agrees to allow Lakeway and Lakeway Missouri to receive

   all rebates that Lakeway and Lakeway Missouri were entitled to pre-petition.

          5.      Lakeway and Lakeway Missouri agree to waive all claims that it may have

   against PAGE Cooperative under 11 U.S.C. 547.

          6.      Should Lakeway or Lakeway Missouri default on paragraphs #2, #3, or both,

   PAGE Cooperative may elect to stop receiving invoices from Lakeway and Lakeway Missouri




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   suppliers, and both Lakeway and Lakeway Missouri would need to work directly with those

   suppliers for future supplies. The Parties agree that even if Lakeway or Lakeway Missouri

   default on paragraphs #2, #3, or both, that paragraph #5 shall remain in effect.

           7.      In the event that PAGE Cooperative fails or refuses to ship/provide goods or

   services to the Debtors post-petition, unless such failure or refusal results from Lakeway or

   Lakeway Missouri defaulting on the payment terms set forth in this order, any amounts paid to

   the respective critical vendor(s) for pre-petition invoices pursuant to the terms of this Order

   shall be subject to disgorgement or setoff. To the extent that there has been a material adverse
                                                     1
   change (eg. Debtors' facility burns to the ground) in the Debtors' financial condition, any such

   critical vendor(s) may move this Court for relief from the obligation to ship/provide additional

   goods or services. Any pre-petition amounts paid pursuant to this Order that are subsequently

   disgorged or setoff will be reinstated as part of the respective critical vendor(s) unsecured claim.

   Furthermore, the $10,000.00 payments made pursuant to paragraph #3 above made to PAGE

   Cooperative will be applied first to PAGE Cooperative's pre-petition invoices.

           8. Due to the fact that time is of the essence and the Debtor requires the product being

   sold by PAGE Cooperative, this order is approved in the interim and a final hearing will be

   held on the relief granted in the order on July 2, 2019, at 9:00 a.m., in the Bankruptcy Courtroom,

   James H. Quillen United States Courthouse, Greeneville, Tennessee 37743. Any objections to the

   order becoming final must be filed by July 1, 2019. If no objections are filed, this order shall be

   considered final unless further modified by the court. Counsel for Debtors is hereby ordered to

   immediately serve all parties in interest a copy of this order and file a certificate of service to

   this effect within three (3) days of the entry of this order.



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   APPROVED:

   Respectfully submitted,

   /s/ Ryan E. Jarrard

   Ryan E. Jarrard, Esquire
   BPR No. 024525
   Attorney for Debtor
   Quist, Fitzpatrick & Jarrard PLLC
   2121 First Tennessee Plaza
   800 South Gay Street
   Knoxville, TN 37929-2121
   (865) 524-1873
   rej@qcflaw.com


   /s/ Thomas H. Dickenson

   Thomas H. Dickenson, Esquire
   BPR No. 006844
   Attorney for PAGE Cooperative
   Hodges Doughy & Carson, PLLC
   2121 First Tennessee Plaza
   617 W Main St, Knoxville, TN 37902
   (865) 292-2307
   TDickenson@hdclaw.com


   /s/Tiffany A. DiIorio
   Tiffany A. DiIorio, Florida Bar #0719706
   US Department of Justice
   Office of the US Trustee
   800 Market Street, Ste 114
   Knoxville, TN 37902
   (865) 545-4754
   tiffany.diiorio@usdoj.gov




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       The Parties agree that Debtors' failure to pay is not considered a "material change."


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